                           IN THE UNITED STATES BANKRUPTCY COURT FOR
                                THE NORTHERN DISTRICT OF ALABAMA
                                       TUSCALOOSA DIVISION

 IN RE:

 Jessie James White, Jr
 Marilynn Coleman White
                                                                      CASE NO: 16-71674-JHH13


                      DEBTOR(S).


                                       NOTICE OF WITHDRAWAL
                                     OF AMENDED PROOF OF CLAIM


        Ocwen Loan Servicing, LLC as servicing agent for U.S. Bank National Association, as Trustee for 2004-
 CB1 Trust, C-BASS Mortgage Loan Asset-Backed Certificates, Series 2004-CB , hereby provides Notice of
 Withdrawal of the Amended Proof of Claim filed on April 25, 2017 in the above-captioned case to all parties.


          This day, April 26, 2017

                                             /s/ Helen Ball
                                             Helen Ball, Attorney for Creditor
                                             hball@logs.com |704-607-4881
                                             Shapiro & Ingle, LLP
                                             10130 Perimeter Pkwy, Suite 400
                                             Charlotte, NC 28216
                                             Phone: 704-333-8107 | Fax: 704-333-8156
                                             Supervisory Attorney Contact: Grady Ingle
                                             gingle@logs.com | 704-607-4881
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF ALABAMA
                                          TUSCALOOSA DIVISION

In re:
JESSIE JAMES WHITE, JR                                          CASE NO: 16-71674-JHH13
MARILYNN COLEMAN WHITE                                          CHAPTER: 13
Debtor(s)

                                            CERTIFICATE OF SERVICE

                                                  Jessie James White, Jr.
                                                    3001 47th Ave East
                                                  Tuscaloosa, AL 35405

                                                Marilynn Coleman White
                                                  3001 47th Ave East
                                                 Tuscaloosa, AL 35405



                                                     Eric M Wilson
                                                   Wilson Bettis LLC
                                                     1902 8th Street
                                                 Tuscaloosa, AL 35401
                                                  C. David Cottingham
                                                   P O Drawer 10848
                                              Birmingham, AL 35202-0848


  I do hereby certify that I have on this 26th day of April, 2017, served a copy of the foregoing pleading on the parties
  listed above by depositing the same in a postpaid wrapper properly addressed to each such party or his attorney of
  record in a post office or other official depository under the exclusive care and custody of the United States Postal
  Service or by electronic mail, if applicable. Any party that can be served by electronic mail will receive no other
  form of notice.

                                                  /s/ Helen Ball
                                                  Helen Ball, Attorney for Creditor
                                                  hball@logs.com |704-607-4881
                                                  Shapiro & Ingle, LLP
                                                  10130 Perimeter Pkwy, Suite 400
                                                  Charlotte, NC 28216
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  16-011087




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